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                                                                     Form B22C (Chapter 13) (10/05)                                                 According to the calculations required by this statement:

                                                                     In re: Stevens, Keith & Stevens, Melissia
                                                                                                                                                      üThe applicable commitment period is 3 years.
                                                                                                         Debtor(s)
                                                                                                                                                         The applicable commitment period is 5 years.
                                                                     Case Number:                                                                        Disposable income is determined under § 1325(b)(3).
                                                                                                         (If known)                                      Disposable income is not determined under § 1325(b)(3).
                                                                                                                                                    (Check the box as directed in Lines 17 and 23 of this statement.)


                                                                                               STATEMENT OF CURRENT MONTHLY INCOME
                                                                                     AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                                                                                   FOR USE IN CHAPTER 13

                                                                     In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly. Joint debtors may
                                                                     complete one statement only.


                                                                                                                             Part I. REPORT OF INCOME
                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                              a.       Unmarried. Complete only Column A ("Debtor’s Income") for Lines 2-10.

                                                                        1
                                                                              b.   ü   Married. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 2-10.
                                                                              All figures must reflect average monthly income for the six calendar months prior to filing the bankruptcy           Column A         Column B
                                                                              case, ending on the last day of the month before the filing. If you received different amounts of income             Debtor’s         Spouse’s
                                                                              during these six months, you must total the amounts received during the six months, divide this total by             Income            Income
                                                                              six, and enter the result on the appropriate line.
                                                                        2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                      $      7,102.40 $
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                                                                              Income from the operation of a business, profession, or farm. Subtract Line b from Line a and enter
                                                                              the difference on Line 3. Do not enter a number less than zero. Do not include any part of the
                                                                              business expenses entered on Line b as a deduction if Part IV.
                                                                        3       a.     Gross receipts                                           $
                                                                                b.     Ordinary and necessary business expenses                 $
                                                                                c.     Business income                                          Subtract Line b from Line a
                                                                                                                                                                                              $                 $
                                                                              Rent and other real property income. Subtract Line b from Line a and enter the difference on Line 4.
                                                                              Do not enter a number less than zero. Do not include any part of the operating expenses entered on
                                                                              Line b as a deduction in Part IV.
                                                                        4       a.     Gross receipts                                           $
                                                                                b.     Ordinary and necessary operating expenses                $
                                                                                c.     Rental income                                            Subtract Line b from Line a
                                                                                                                                                                                              $                 $
                                                                        5     Interest, dividends, and royalties.                                                                             $                 $
                                                                        6     Pension and retirement income.                                                                                  $                 $
                                                                              Regular contributions to the household expenses of the debtor or the debtor’s dependents,
                                                                        7     including child or spousal support. Do not include contributions from the debtor’s spouse if Column B
                                                                              is completed.                                                                                                   $                 $
                                                                              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8. However, if
                                                                              you contend that unemployment compensation received by you or your spouse was a benefit under the
                                                                              Social Security Act, do not list the amount of such compensation in Column A or B, but instead state the
                                                                        8     amount in the space below:
                                                                                Unemployment compensation claimed to
                                                                                be a benefit under the Social Security Act    Debtor $                        Spouse $
                                                                                                                                                                                              $                 $
                                                                              Income from all other sources. If necessary, list additional sources on a separate page. Do not
                                                                              include any benefits received under the Social Security Act or payments received as a victim of a war
                                                                              crime, crime against humanity, or as a victim of international or domestic terrorism. Specify source and
                                                                              amount.
                                                                        9
                                                                                a.                                                                                       $
                                                                                b.                                                                                       $
                                                                                Total and enter on Line 9                                                                                     $                 $

                                                                       10
                                                                              Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9 in
                                                                              Column B. Enter the total(s).                                                                                   $      7,102.40 $

                                                                       11
                                                                              Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter the
                                                                              total. If Column B has not been completed, enter the amount from Line 10, Column A.                              $                        7,102.40
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                                                                                                   Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
                                                                     12    Enter the amount from Line 11.                                                                                                 $       7,102.40
                                                                           Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that calculation of
                                                                     13    the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse, enter the amount of
                                                                           the income listed in Line 10, Column B that was NOT regularly contributed to the household expenses of you or your
                                                                           dependents. Otherwise, enter zero.                                                                                             $                0.00
                                                                     14    Subtract Line 13 from Line 12 and enter the result.                                                                            $       7,102.40

                                                                     15
                                                                           Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
                                                                           enter the result.                                                                                                              $      85,228.80
                                                                           Applicable median family income. Enter the median family income for the applicable state and household size.
                                                                     16    (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                           a. Enter debtor’s state of residence: Maryland                                b. Enter debtor’s household size:   4            $      88,454.00
                                                                           Application of § 1325(b)(4). Check the applicable box and proceed as directed.

                                                                     17
                                                                           ü at the top of page 1 of this statement, and complete Part VII of this statement. Do not complete Parts III, IV, V, or VI.
                                                                              The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is 3 years”

                                                                                 The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment period is 5
                                                                                 years” at the top of page 1 of this statement and continue with Part III of this statement.

                                                                                    Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                     18    Enter the amount from Line 11.                                                                                                 $
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                                                                           Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter the amount of the income listed
                                                                     19    in Line 10, Column B that was NOT regularly contributed to the household expenses of you or your dependents. If you are
                                                                           unmarried or married filing jointly with your spouse, enter zero.                                                              $
                                                                     20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                                   $

                                                                     21
                                                                           Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
                                                                           enter the result.                                                                                                              $

                                                                     22    Applicable median family income. Enter the amount from Line 16.                                                                $

                                                                           Application of § 1325(b)(3). Check the applicable box and proceed as directed.
                                                                              The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined under §
                                                                     23          1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                                                                                 The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not determined
                                                                                 under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.

                                                                                           Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                                                                                            Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                           National Standards: food, clothing, household supplies, personal care, and miscellaneous. Enter
                                                                           “Total” amount from IRS National Standards for Allowable Living Expenses for the applicable family size and income level.
                                                                     24
                                                                           (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                                                                                          $

                                                                           Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                                                                     25A   Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is available at
                                                                           www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                                 $

                                                                           Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
                                                                           IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is available
                                                                           at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average Monthly
                                                                           Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter the result in
                                                                           Line 25B. Do not enter an amount less than zero.
                                                                     25B    a.     IRS Housing and Utilities Standards; mortgage/rental expense            $
                                                                                   Average Monthly Payment for any debts secured by your home,
                                                                            b.     if any, as stated in Line 47                                            $
                                                                            c.     Net mortgage/rental expense                                             Subtract Line b from Line a
                                                                                                                                                                                                          $

                                                                           Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and
                                                                           25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities Standards,
                                                                           enter any additional amount to which you contend you are entitled, and state the basis for your contention in the space
                                                                     26    below:

                                                                                                                                                                                                          $
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                                                                          Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
                                                                          expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and regardless of
                                                                          whether you use public transportation.
                                                                          Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are included
                                                                     27   as a contribution to your household expenses in Line 7.
                                                                             0      1     2 or more.
                                                                          Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
                                                                          number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                                     $

                                                                          Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                          which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
                                                                          vehicles.)
                                                                             1      2 or more.
                                                                          Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments
                                                                     28   for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter the result in Line 28. Do
                                                                          not enter an amount less than zero.
                                                                           a.    IRS Transportation Standards, Ownership Costs, First Car                   $
                                                                                 Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                           b.    stated in Line 47                                                          $
                                                                           c.    Net ownership/lease expense for Vehicle 1                                  Subtract Line b from Line a
                                                                                                                                                                                                             $

                                                                          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
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                                                                          checked the “2 or more” Box in Line 23.
                                                                          Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments
                                                                          for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter the result in Line 29. Do
                                                                     29   not enter an amount less than zero.
                                                                           a.    IRS Transportation Standards, Ownership Costs, Second Car                   $
                                                                                 Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                           b.    stated in Line 47                                                           $
                                                                           c.    Net ownership/lease expense for Vehicle 2                                   Subtract Line b from Line a
                                                                                                                                                                                                             $

                                                                          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
                                                                     30   state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
                                                                          security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                                     $

                                                                          Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
                                                                     31   deductions that are required for your employment, such as mandatory retirement contributions, union dues, and uniform
                                                                          costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                                           $

                                                                          Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for term life
                                                                     32   insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for any other
                                                                          form of insurance.                                                                                                                 $

                                                                          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
                                                                     33   pay pursuant to court order, such as spousal or child support payments. Do not include payments on past due support
                                                                          obligations included in Line 44.                                                                                                   $

                                                                          Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                     34   child. Enter the total monthly amount that you actually expend for education that is a condition of employment and for
                                                                          education that is required for a physically or mentally challenged dependent child for whom no public education providing
                                                                          similar services is available.                                                                                                     $

                                                                     35
                                                                          Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on childcare.
                                                                          Do not include payments made for children’s education.                                                                             $

                                                                          Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on health
                                                                     36   care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include payments for
                                                                          health insurance listed in Line 39.                                                                                                $

                                                                          Other Necessary Expenses: telecommunication services. Enter the average monthly expenses that you
                                                                     37   actually pay for cell phones, pagers, call waiting, caller identification, special long distance, or internet services necessary
                                                                          for the health and welfare of you or your dependents. Do not include any amount previously deducted.                               $

                                                                     38   Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                                $
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                                                                                                       Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                    Note: Do not include any expenses that you have listed in Lines 24-37
                                                                          Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the average monthly
                                                                          amounts that you actually expend in each of the following categories and enter the total.
                                                                           a.    Health Insurance                                                        $
                                                                     39    b.    Disabilit y I nsur ance                                                 $
                                                                           c.    Health Sav ings Account                                                 $
                                                                                                                                                         Total: Add Lines a, b and c
                                                                                                                                                                                                        $

                                                                          Continued contributions to the care of household or family members. Enter the actual monthly expenses
                                                                     40   that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
                                                                          member of your household or member of your immediate family who is unable to pay for such expenses. Do not include
                                                                          payments listed in Line 34.                                                                                                   $

                                                                     41
                                                                          Protection against family violence. Enter any average monthly expenses that you actually incurred to maintain the
                                                                          safety of your family under the Family Violence Prevention and Services Act or other applicable federal law.                  $

                                                                          Home energy costs in excess of the allowance specified by the IRS Local Standards. Enter the average
                                                                     42   monthly amount by which your home energy costs exceed the allowance in the IRS Local Standards for Housing and
                                                                          Utilities. You must provide your case trustee with documentation demonstrating that the additional amount
                                                                          claimed is reasonable and necessary.                                                                                          $

                                                                          Education expenses for dependent children less than 18. Enter the average monthly expenses that you
                                                                          actually incur, not to exceed $125 per child, in providing elementary and secondary education for your dependent children
                                                                     43
                                                                          less than 18 years of age. You must provide your case trustee with documentation demonstrating that the amount
                                                                          claimed is reasonable and necessary and not already accounted for in the IRS Standards.                                       $
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                                                                          Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
                                                                          expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
                                                                     44   percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
                                                                          bankruptcy court.) You must provide your case trustee with documentation demonstrating that the additional
                                                                          amount claimed is reasonable and necessary.                                                                                   $

                                                                     45
                                                                          Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
                                                                          financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                   $

                                                                     46   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45                                    $

                                                                                                                   Subpart C: Deductions for Debt Payment
                                                                          Future payments on secured claims. For each of your debts that is secured by an interest in property that you
                                                                          own, list the name of creditor, identify the property securing the debt, and state the Average Monthly Payment. The
                                                                          Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60 months
                                                                          following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of taxes and insurance
                                                                          required by the mortgage. If necessary, list additional entries on a separate page.
                                                                                                                                                                                          60-month
                                                                     47          Name of Creditor                                Property Securing the Debt                            Average Pmt
                                                                           a.                                                                                                    $
                                                                           b.                                                                                                    $
                                                                           c.                                                                                                    $
                                                                                                                                                                      Total: Add lines a, b and c.
                                                                                                                                                                                                        $

                                                                          Past due payments on secured claims. If any of the debts listed in Line 47 are in default, and the property
                                                                          securing the debt is necessary for your support or the support of your dependents, you may include in your deductions
                                                                          1/60th of the amount that you must pay the creditor as a result of the default (the “cure amount”) in order to maintain
                                                                          possession of the property. List any such amounts in the following chart and enter the total. If necessary, list additional
                                                                          entries on a separate page.
                                                                                                                                                                                     1/60th of the
                                                                     48          Name of Creditor                                Property Securing the Debt in Default               Cure Amount
                                                                           a.                                                                                                    $
                                                                           b.                                                                                                    $
                                                                           c.                                                                                                    $
                                                                                                                                                                      Total: Add lines a, b and c.
                                                                                                                                                                                                        $

                                                                     49
                                                                          Payments on priority claims. Enter the total amount of all priority claims (including priority child support and alimony
                                                                          claims), divided by 60.                                                                                                       $
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                                                                          Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
                                                                          chart, multiply the amount in Line a by the amount in Line b, and enter the resulting administrative expense.
                                                                           a.       Projected average monthly Chapter 13 plan payment.                      $
                                                                                    Current multiplier for your district as determined under schedules
                                                                     50
                                                                                    issued by the Executive Office for United States Trustees. (This
                                                                                    information is available at www.usdoj.gov/ust/ or from the clerk of
                                                                           b.       the bankruptcy court.)                                                  X
                                                                           c.       Average monthly administrative expense of Chapter 13 case               Total: Multiply Lines a and b
                                                                                                                                                                                                             $
                                                                     51   Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                                         $

                                                                                                           Subpart D: Total Deductions Allowed under § 707(b)(2)
                                                                     52   Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 38, 46, and 51.                                        $


                                                                                     Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
                                                                     53   Enter current monthly income. Enter the amount from Line 20.                                                                       $

                                                                          Support Income. Enter the monthly average of any child support payments, foster care payments, or disability
                                                                     54   payments for a dependent child, included in Line 7, that you received in accordance with applicable nonbankruptcy law, to
                                                                          the extent reasonably necessary to be expended for such child.                                                                     $

                                                                          Qualified retirement deductions. Enter the monthly average of (a) all contributions or wage deductions made to
                                                                     55   qualified retirement plans, as specified in § 541(b)(7) and (b) all repayments of loans from retirement plans, as specified
                                                                          in § 362(b)(19).                                                                                                                   $
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                                                                     56   Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                                  $

                                                                     57
                                                                          Total adjustments to determine disposable income. Add the amounts on Line 54, 55, and 56 and enter the
                                                                          result.                                                                                                                            $

                                                                     58   Monthly Disposable Income Under § 1325(b)(2). Subtract Line 57 from Line 53 and enter the result.                                  $


                                                                                                                Part VI. ADDITIONAL EXPENSE CLAIMS
                                                                          Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                                                                          you and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I). If
                                                                          necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the
                                                                          expenses.
                                                                                    Expense Description                                                                                             Monthly Amount
                                                                     59    a.                                                                                                                   $
                                                                           b.                                                                                                                   $
                                                                           c.                                                                                                                   $
                                                                                                                                                            Total: Add Lines a, b and c         $



                                                                                                                              Part VII. VERIFICATION
                                                                          I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case, both debtors must
                                                                          sign.)


                                                                     60   Date: September 21, 2007                   Signature: /s/ Keith Stevens
                                                                                                                                                                             (Debtor)


                                                                          Date: September 21, 2007                   Signature: /s/ Melissia Stevens
                                                                                                                                                                       (Joint Debtor, if any)
